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               In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                       (Filed: July 11, 2016)
                                           No. 14-482V

* * * * * * * * * * * * *
GARLAND L. SNYDER and   *
JENNIFER D. SNYDER, parents and
                        *
natural guardians of J.L.S., a minor
                        *                                                Decision on Joint Stipulation;
child,                  *                                                Acute Disseminated
                        *                                                Encephalomyelitis (“ADEM”);
         Petitioners,   *                                                Influenza (“Flu”) Vaccine.
                        *
v.                      *
                        *
SECRETARY OF HEALTH     *
AND HUMAN SERVICES,     *
                        *
         Respondent.    *
                        *
* * * * * * * * * * * * *


Isaiah R. Kalinowski, Esq., Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Michael P. Milmoe, Esq., US Department of Justice, Washington, DC, for respondent.

                                 DECISION ON JOINT STIPULATION1

Roth, Special Master:

        On June 4, 2014, Garland L. Snyder and Jennifer D. Snyder (“petitioners”) filed a
petition for compensation on behalf of their minor child, J.L.S., under the National Vaccine
Injury Compensation Program.2 Petitioners allege that J.L.S. developed Acute Disseminated
Encephalomyelitis (“ADEM”) as a result of receiving an influenza vaccination on November 9,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In
accordance with Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review, I agree that the
identified material fits within the requirements of that provision, I will delete such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).


                                                           1
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2011. See Stipulation, filed July 11, 2016, at ¶¶ 1-4. Respondent denies that the influenza
immunization caused J.L.S.’s injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On July 11, 2016, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

             A lump sum of $75,000.00 in the form of a check payable to petitioners, Garland
             Snyder and Jennifer Snyder. This amount represents compensation for all damages
             that would be available under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                                   s/ Mindy Michaels Roth
                                      Mindy Michaels Roth
                                      Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.
                                                         2
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